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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 MAE SMITH,                                 Honorable

       Plaintiff,
                                            Civil Action No.
       v.

 SHARON JOHNSON, M.D., et al.,
                                            NOTICE OF REMOVAL
       Defendants.

TO:   Clerk
      Superior Court of New Jersey
      Law Division – Essex County
      50 West Market Street
      Newark, New Jersey 07102


      Howard Z. Myerowitz, Esq.
      Law Offices of Howard Z.
      Myerowitz, LLC
      507 Frank E. Rogers Blvd. North
      PO Box 192
      Harrison, New Jersey 07029
      Counsel for Plaintiff




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      PLEASE TAKE NOTICE that the case of Mae Smith v. Sharon Johnson,

M.D., et al., previously pending in the Superior Court of New Jersey, Law Division,

Essex County, Docket Number ESX-L-5304-18, is hereby removed to the United

States District Court for the District of New Jersey pursuant to the provisions of 42

U.S.C. ' 233(c). The United States of America is hereby substituted for defendants

Sharon Johnson, M.D. and the Newark Community Health Center, Inc. pursuant to

42 U.S.C. ' 233(c) and (g). The United States, now substituted as defendant in this

matter, through its attorney, Craig Carpenito, United States Attorney for the

District of New Jersey (Ben Kuruvilla, Assistant United States Attorney,

appearing), states as follows upon information and belief:

      1.     Sharon Johnson, M.D. and the Newark Community Health Center,

Inc. (collectively, the “Federal Defendants”) have been named as defendants in an

action now pending in the Superior Court of New Jersey, Civil Part, Law Division,

Essex County, Docket No. ESX-L-5304-18.

      2.     The Complaint in that action was filed on or about July 30, 2018. (A

copy of the Summons and Complaint and other papers served on defendants are

attached hereto as Exhibit A).

      3.     Plaintiff Mae Smith seeks damages from the Federal Defendants for

personal injuries she allegedly sustained as the result of the Federal Defendants’

alleged negligence (i.e., medical malpractice).   See Exhibit A.

      4.     At all times relevant to this Complaint, the Federal Defendants were

deemed employees of the United States pursuant to 42 U.S.C. § 233(g).
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(Declaration of Meredith Torres, along with copies of the United States Department

of Health and Human Services “Notice of Deeming Action” for 2015 and 2016 are

attached hereto as Exhibit B).

      5.     Pursuant to 42 U.S.C. § 233(c), and 28 C.F.R. § 15.4, the United States

Attorney has certified that the Federal Defendants were acting within the scope of

their employment as deemed employees of the federal Public Health Service during

the time of the incident(s) out of which the plaintiff’s claims arose. (A Certification

of Scope of Employment is attached as Exhibit C).

      6.     Accordingly, this action is deemed to be an action against the United

States because the Federal Defendants were acting within the scope of employment

as employees of the United States pursuant to 42 U.S.C. § 233(c).

      7.     Sections 233(a) and (g) of Title 42 of the United States Code, as amended

by the Federally Supported Health Centers Assistance Act of 1995 (Public Law 104-

73), provide that the Federal Torts Clams Act, 28 U.S.C. § 1346 and 28 U.S.C. § 2671,

et seq. (“FTCA”), is the exclusive remedy for tort claims against the United States for

personal injuries resulting from the performance of medical or surgical related

functions.   The Federal Defendants have personal immunity, and the United States

is the only cognizable and proper defendant, as to the plaintiff’s state law tort claims

alleged against the Federal Defendants in this action.

      8.     The United States District Courts have exclusive jurisdiction over tort

actions filed against the United States under the FTCA.      See 28 U.S.C. § 1346(b).


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      9.     Federal law directs that “[u]pon certification by the Attorney General

that the defendant employee was acting within the scope of his office or employment

at the time of the incident out of which the suit arose, any such civil action or

proceeding commenced in a State court shall be removed without bond at any time

before trial by the Attorney General to the district court of the United States for the

district and division embracing the place in which the action or proceeding is

pending” and that the proceeding be deemed a tort action against the United States

pursuant to the FTCA.     See 42 U.S.C. § 233(c) (emphasis added).     On information

and belief, no trial date for this matter has been set by the state court.

      10.    Accordingly, the United States District Court for the District of New

Jersey has exclusive jurisdiction over this action under 28 U.S.C. § 1346(b), and this

action is properly removed to this Court pursuant to 28 U.S.C. §233(c).

      11.    No answer to the Complaint has been filed in the state court on behalf

of the Federal Defendants.

      12.    A copy of this Notice of Removal will be filed with the Clerk of the

Superior Court of New Jersey, Essex, Law Division.

      THEREFORE, in accordance with 42 U.S.C. § 233, the above-captioned

action filed in the Superior Court of New Jersey, Civil Division, Essex County, is

now removed to this Court with the United States substituted as defendant for

further proceedings.




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Dated:    Newark, New Jersey
          January 8, 2019


                                        CRAIG CARPENITO
                                        United States Attorney


                                  By:   s/Ben Kuruvilla
                                        Ben Kuruvilla
                                        Assistant United States Attorney




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